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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 STATE OF FLORIDA,

         Plaintiff,

 v.                                              Case No. 3:21cv1066-TKW-EMT

 UNITED STATES OF AMERICA,
 et al.,

      Defendants.
_________________________________/

      ORDER EXTENDING DEADLINES AND RESCHEDULING TRIAL

        Upon due consideration of Plaintiff’s unopposed motion to extend deadlines

and for a new trial date (Doc. 70), it is ORDERED that the motion is GRANTED,

and:

        1.    The deadline for amending the pleadings is extended to August 12,

2022.

        2.    The discovery deadline is extended to September 12, 2022, and all

deadlines in the scheduling order (Doc. 39) tied to the discovery deadline are

extended likewise.

        3.    The Court has blocked January 9-11, 2023, on its calendar for a

potential bench trial, and counsel shall do so as well.
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      4.     A date for the pretrial conference will be set after the Court reviews the

briefing on any motions for summary judgment and makes a preliminary

determination as to whether the case is likely to be resolved on the motions or

whether a trial will be necessary.

      DONE and ORDERED this 21st day of July, 2022.




                                       __________________________________
                                       T. KENT WETHERELL, II
                                       UNITED STATES DISTRICT JUDGE




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